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5
                         IN THE UNITED STATES DISTRICT COURT
6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                         ) Case No.: CR.S. 10-347 MCE
     United States of America,            )
9                                         ) STIPULATION AND ORDER TO CONTINUE
                  Plaintiff,              ) STATUS CONFERENCE
10                                        )
          vs.                             ) Court: Hon. Morrison C. England
11                                        ) Time:   9:00 a.m.
                                          ) Date:   February 7, 2013
12   Torey Moore,                         )
                                          )
13                Defendant
14

15

16        Defendant Torey Moore, by and through his undersigned counsel and
17   the United States Government, by and through Assistant United States
18   Attorney Todd Leras, hereby agree and stipulate that the status
19   conference previously scheduled for January 10, 2013 be continued
20   until February 7, 2013 and that date is available with the Court.      Mr.
21   Moore is charged in a five count indictment alleging violations of 21
22   U.S.C. §§s 841(a)(1) and § 846 – possession with intent to distribute
23   and conspiracy to distribute methamphetamine.     The parties are
24   involved in investigation and negotiation to attempt to reach
25   settlement of this matter. The parties therefore request that the
26   matter be continued to allow both government and defense review to be
27   completed.     Therefore, the parties request a status conference date of
28   February 7, 2013 and that date is available with the Court.




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1                                   The parties agree that time should be excluded under 18 U.S.C. §

2    3161(h)(8)(i) for defense preparation and under local code T4.

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4
     Dated: January 8, 2013                                        Respectfully submitted,
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6

7                                                               __/s/ Shari Rusk___
                                                                Shari Rusk
8                                                               Attorney for Defendant
                                                                Torey Moore
9

10                                                                 /s/ Todd Leras
                                                                   Todd Leras
11                                                                 Assistant United States Attorney
12

13
                                                           ORDER
14

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                                    IT IS SO ORDERED.   The Court finds excludable time through
16
     February 7, 2013, based on Local Code T4, giving counsel reasonable
17
     time to prepare.
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19
     Dated:                            January 9, 2013

20                                                            _____________________________________
                                                              ____
21                                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
22   DE AC _S ig na tu re -E ND :
                                                              UNITED STATES DISTRICT COURT

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